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      7                        UNITED STATES DISTRICT COURT
      8                FOR THE CENTRAL DISTRICT OF CALIFORNIA
      9

     10
          VANGUARD MEDICAL                            No. EDCV 17-965-GW-DTB
     11   MANAGEMENT BILLING, INC.,
          a California corporation; ONE-              ORDER ON STIPULATION TO
     12   STOP MULTI-SPECIALTY                        EXTEND TIME TO FILE
          MEDICAL GROUP, INC., a                      MOTION FOR LEAVE TO FILE
     13   California corporation; ONE-STOP            SUPPLEMENTAL PLEADING
          MULTI-SPECIALTY MEDICAL
     14   GROUP & THERAPY, INC., a
          California corporation; NOR CAL
     15   PAIN MANAGEMENT
     16   MEDICAL GROUP, INC., a
          California corporation; EDUARDO
     17   ANGUIZOLA, M.D., an
          individual; DAVID GOODRICH,
     18   in his capacity as Chapter 11
          Trustee; and MESA PHARMACY,
     19   INC., a California corporation,
     20                Plaintiffs,
          vs.
     21

     22
          ANDRE SCHOORL, in his official
          capacity as Acting Director of the
     23   California Department of Industrial
          Relations; GEORGE PARISOTTO,
     24   in his official capacity as
          Administrative Director of the
     25   California Division of Workers
          Compensation; and DOES 1
     26   through 10, inclusive.
     27                       Defendants.
     28
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      6   Inc., One Stop Multi-Specialty
          Medical Group & Therapy, Inc.,
      7   Nor Cal Pain Management Medical
          Group, Inc., and Eduardo Anguizola, M.D.
      8

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          Nor Cal Pain Management Medical
     15   Group, Inc., Eduardo Anguizola, M.D.,
     16   and Mesa Pharmacy, Inc.

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     22   Chapter 11 Trustee for Allied Injury
          Management, Inc.
     23

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      3                                       ORDER
      4         The Court, having considered the stipulation submitted herewith, hereby
      5   enters the following order:
      6         Plaintiff MESA PHARMACY, INC.’s deadline to file a Motion for Leave to
      7   File Supplemental Pleading shall be extended to July 27, 2018.
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      9   IT IS SO ORDERED.
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     11   Dated: July 20, 2018           ____________________________________
     12                                  GEORGE H. WU, U.S. District Judge
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                                 ORDER ON STIPULATION TO EXTEND TIME
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